Corporate Creations Network Inc.
801 US Highway 1 North Palm Beach, FL 33408

                   Publix Super Markets, Inc.                                                                                                        09/16/2022
                   Merriann Metz General Counsel & Secretary
                   Publix Super Markets Inc.
                   3300 Publix Corporate Parkway
                   Lakeland FL 33811



SERVICE OF PROCESS NOTICE
The following is a courtesy summary of the enclosed document(s). ALL information should be verified by you.                                                          Item: 2022-7233
Note: Any questions regarding the substance of the matter described below, including the status or how to respond, should be
directed to the contact set forth in line 12 below or to the court or government agency where the matter is being heard. IMPORTANT:
All changes or updates to the SOP contact individuals or their contact information must be submitted in writing to
SOPcontact@corpcreations.com. Any changes will become effective upon written confirmation of Corporate Creations.


 1.                           Entity Served:             Publix Super Markets, Inc.

 2.                          Title of Action:            Malcom Huckins vs. Publix Super Markets, Inc.

 3.                Document(s) Served:                   Officer's Return
                                                         Summons
                                                         Complaint and Demand for Trial by Jury

 4.                           Court/Agency:              Hamilton County Circuit Court

 5.                            State Served:             Tennessee

 6.                           Case Number:               22C891

 7.                               Case Type:             Negligence

 8.                    Method of Service:                Hand Delivered

 9.                          Date Received:              Thursday 09/15/2022

 10.                          Date to Client:            Friday 09/16/2022

 11.         # Days When Answer Due:                     30                                     CAUTION: Client is solely responsible for verifying the accuracy of the estimated Answer Due
                     Answer Due Date:                    Saturday 10/15/2022                    Date. To avoid missing a crucial deadline, we recommend immediately confirming in writing
                                                                                                with opposing counsel that the date of the service in their records matches the Date Received.

 12.                             Sop Sender:             Yates & Wheland
               (Name, City, State, and Phone Number)
                                                         Chattanooga, TN
                                                         423-888-3030

 13.              Shipped To Client By:                  Regular Mail and Email with PDF Link

 14.                    Tracking Number:

 15.                             Handled By:             431

 16.                                      Notes:         None.

NOTE: This notice and the information above is provided for general informational purposes only and should not be considered a legal opinion. The client and their legal
counsel are solely responsible for reviewing the service of process and verifying the accuracy of all information. At Corporate Creations, we take pride in developing systems
that effectively manage risk so our clients feel comfortable with the reliability of our service. We always deliver service of process so our clients avoid the risk of a default
judgment. As registered agent, our role is to receive and forward service of process. To decrease risk for our clients, it is not our role to determine the merits of whether service
of process is valid and effective. It is the role of legal counsel to assess whether service of process is invalid or defective. Registered agent services are provided by Corporate
Creations Network Inc.
                                                       801 US Highway 1 North Palm Beach, FL 33408 Tel: (561) 694-8107 Fax: (561) 694-1639
                                                                                   www.CorporateCreations.com




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